480 F.2d 922
    9 Fair Empl.Prac.Cas.  857,21 Wage &amp; Hour Cas. (BN 122,6 Empl. Prac. Dec. P 8689, 71 Lab.Cas.  P 32,918
    *Brennanv.Braswell Motor Freight Lines,Inc.
    72-3532
    UNITED STATES COURT OF APPEALS Fifth Circuit
    June 19, 1973
    
      1
      N.D.Tex.
    
    
      2
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        * Summary Calendar cases; Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of
      
    
    